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                CITY OF ATLANTA




     OFFICE OF MUNICIPAL
            CLERK


 STATE OF GEORGIA

 COUNTY OF FULTON                }                               CITY OF ATLANTA




I, Vanessa Waldon, do hereby certify that I am the duly appointed Deputy Municipal
Clerk of the City of Atlanta, Georgia, and as such am in charge of keeping the Minutes of
the City Council of the said City of Atlanta. I further certify that the attached is a true and
correct copy of Atlanta, Georgia Code Chapter 30. Administration and Enforcement.
Section 16-30.010: Appeals from Decisions of Administrative Official as taken from the
1995 Code ofOrdinances ofthe City of Atlanta, Georgia, ADOPTED by Council December
5, 1995 and APPROVED by the Mayor December 11, 1995, as amended, from time to
time.

all as the same appears from the original, which is of record and on file in my said office.
GIVEN under my hand and seal of office this 28th day of March, 2022.




                                                               Deputy Municipal Clerk


                                                                    A. Vanessa Waldon
Certification completed by tcp                                    DeQ.u!v Municipal Clerk
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                               CITY OF ATLANTA CHARTER/CODE


Sec. 16-30.010. Appeals from decisions of administrative official.
(a) Appeals may be taken by any person aggrieved or by any officer, department, board or
    bureau affected by any decision of an administrative official, by filing with the official from
    whom the appeal is taken, and with the board, a notice of appeal specifying the grounds
    thereof, within 30 days after the action appealed from was taken, unless the rules of the
    board specify a longer period generally or for a particular class of cases.
(b) An appeal stays all legal proceedings in furtherance of the action appealed from unless the
    official from whom the appeal is taken certifies to the board, after notice of appeal shall
    have been filed with him, that by reasons of facts stated in the certificate a stay would, in
    his opinion, cause imminent peril to life and property. In such a case, proceedings shall not
    be stayed otherwise than by a restraining order which may be granted by the board or a
    court of record on application, on notice to the officer from whom the appeal is taken, and
    on due cause shown.
(c) The board shall fix a reasonable time for the hearings of the appeal and give notice thereof
    as well as due notice to the parties in interest. Upon the hearing, any party may appear in
    person or by agent or by an attorney.
(d) The board shall decide the appeal within a reasonable time. An appeal shall be sustained
    upon an expressed finding by the board that the administrative official's action was based
    on an erroneous finding of a material fact, or that he acted in an arbitrary manner. In
    exercising its powers, the board may reverse or affirm, wholly or partly, or may modify the
    order, requirement, decision or determination appealed from, and to that end shall have all
    the powers of the administrative official from whom the appeal was taken and may issue or
    direct the issuance of a permit provided all requirements imposed by the applicable laws
    other than these are met.
(e) Appeals of a decision of the board of zoning adjustment under the provisions of this section
    shall be as provided for in section 16-26.007.
(Code 1977, § 16-30.010)




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(Supp. No. 90, Update 2)

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